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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                   CASE NO.: 1:20-cv-20079

  BRUCE MUNRO,

                 Plaintiff,

  v.

  FAIRCHILD TROPICAL BOTANIC
  GARDEN, INC., NIGHT GARDEN, LLC,
  KILBURN LIVE, LLC, ZHONGSHAN G-
  LIGHTS LIGHTING CO., LTD., AND
  NANETTE M. ZAPATA,

                 Defendants.


                     COMPLAINT FOR COPYRIGHT INFRINGEMENT
                               (INJUNCTIVE RELIEF DEMANDED)

        Plaintiff BRUCE MUNRO respectfully alleges as follows against Defendants

 FAIRCHILD TROPICAL BOTANIC GARDEN, INC., NANETTE M. ZAPATA, NIGHT

 GARDEN, LLC, KILBURN LIVE, LLC, and ZHONGSHAN G-LIGHTS LIGHTING CO.,

 LTD.

                                             PARTIES

        1.      Plaintiff BRUCE MUNRO (“Plaintiff” or “Munro”) is an internationally

 acclaimed artist residing in England who focuses on the medium of light and is best known for

 large-scale, immersive, light-based installations and exhibitions produced through his

 eponymously named studio, Bruce Munro Ltd. dba Bruce Munro Studio.

        2.      Defendant FAIRCHILD TROPICAL BOTANIC GARDEN, INC. (“Fairchild”) is

 a Florida not-for-profit corporation with its principal address at 10901 Old Cutler Road, Coral



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 Gables, Florida, 33156 and can be served via its registered agent, Carl E. Lewis, at the same

 address.

        3.      Defendant NANETTE M. ZAPATA (“Zapata”) is an individual that works and

 resides in Miami, Florida and is Fairchild’s Chief Operating Officer and Director of Marketing

 and Communications. On information and belief Zapata controlled and directed Fairchild’s

 conduct alleged herein

        4.      Defendant NIGHT GARDEN, LLC (“NGL”) is a Florida limited liability

 company with its principal address at 11333 Iowa Avenue, Los Angeles, California, 90025, and

 can be served via its registered agent, CT Corporation, at 1200 South Pine Island Road,

 Plantation, Florida, 33324.

        5.      Defendant KILBURN LIVE, LLC (“Kilburn”) is a Delaware limited liability

 company with its principal address at 11333 Iowa Avenue, Los Angeles, California, 90025 and

 can be served via its registered agent, Mark C. Manuel, at the same address. Kilburn is NGL’s

 sole manager according to records filed with the Florida Secretary of State, and controlled and

 directed NGL’s conduct alleged herein. Kilburn has conducted business and committed torts

 within this state as described herein but has not appointed an agent for service of process and,

 accordingly, may be served through the Florida Secretary of State under Fla. Stat. §§ 48.181,

 48.193.

        6.      Defendant ZHONGSHAN G-LIGHTS LIGHTING CO., LTD. (“G-Lights”) is a

 Chinese company with its principal place of business at No. 3, Dongyi Road, Luosha Industrial

 Area, Haizhou, Guzhen Town, Zhongshan City, Guangdong Providence, China 52841. G-Lights

 has conducted business and committed torts within this state as described herein but has not




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 appointed an agent for service of process and, accordingly, may be served through the Florida

 Secretary of State under Fla. Stat. §§ 48.181, 48.193.

                                      NATURE OF THE CLAIMS

        7.      Fairchild, Zapata, NGL, Kilburn, and G-Lights (collectively, “Defendants”) do

 and have done business and committed torts in this District, including the business and torts

 described herein that form the basis for this action.

        8.      This is an action for copyright infringement and contributory copyright

 infringement under 17 U.S.C. §§ 101 et seq., and the Berne Convention for the Protection of

 Literary and Artistic Work and for violations of copyright management information under 17

 U.S.C. §§ 1202 et seq., arising in connection with Defendants’ unauthorized commercial

 exploitation and appropriation of multiple Munro Works, including, inter alia, Munro’s

 federally-registered Forest of Light™ sculptural Work, and Fireflies, Field of Light®, River of

 Light, Water-Towers, and Brass Monkeys sculptural Works. Munro is entitled to injunctive,

 monetary, declaratory, exemplary, and equitable relief.

                                     JURISDICTION AND VENUE

        9.      This Court has subject matter jurisdiction over this action under 17 U.S.C. §§ 101

 et seq. (the U.S. Copyright Act), 28 U.S.C. §§ 1331 (federal question) and 1338(a) (copyrights),

 and treaties of the United States (e.g., the Berne Convention for the Protection of Literary and

 Artistic Works).

        10.     This Court has personal jurisdiction over the Defendants because, among other

 things, they reside, transact business, or have purposefully availed themselves of the privilege of

 doing business in Florida; because the claims arise out of Defendants’ conduct in and effecting




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 Florida; because they committed and are continuing to commit infringing and other illegal acts in

 and having an effect in the state of Florida; and because the exercise of jurisdiction is reasonable.

        11.     Venue is proper in this District under 28 U.S.C. § 1391(b), (c) & (d) and 28

 U.S.C. § 1400(a).

        12.     All asserted claims arise from a common nucleus of operative facts.

                                      CONDITIONS PRECEDENT

        13.     All conditions precedent have occurred or been performed.

                                        BACKGROUND FACTS

 A. The Artist Bruce Munro

        14.     Munro is an acclaimed international artist known for light-based works,

 sculptures, and large-scale immersive installations and exhibitions produced through his

 eponymously named studio, Bruce Munro Ltd. dba Bruce Munro Studio.

        15.     Munro’s unique light-based artwork and installations have been sold and

 exhibited at hundreds of top-tier galleries, museums, and public spaces around the world.

        16.     Munro’s professional honors include the Guggenheim Museum’s 2010 invitation

 in celebration of its 50th anniversary to display in the inspirational rotunda of the Frank Lloyd

 Wright–designed Guggenheim building in Manhattan; 2011 Artist of the Year Award from

 Wiltshire Life Magazine; the 2013 American Alliance of Museums Excellence in Exhibition

 Award. Munro and Munro’s exhibitions are also frequent subjects of articles, media interviews,

 stories, and reports, including a broadcast PBS documentary.

        17.     Munro has developed and is known for a signature style that is valued,

 appreciated, and desired by the public, by exhibitors and curators, and by other consumers of his

 services.


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        18.      For over a decade, Munro has presented and exhibited at preeminent galleries,

 facilities, venues, and public spaces around the world, which contract for Munro’s in-demand

 exhibitions, installations, and associated services and products. Places like the Atlanta Botanical

 Gardens, the United Kingdom’s Salisbury Cathedral, Houston’s Discovery Green Park, and

 Pennsylvania’s Longwood Gardens—one of the most famous display gardens in all of North

 America—have all held highly successful exhibitions of Munro’s unique, large-scale light-based

 installations drawing millions of aggregate attendees.

        19.     Exhibitions of Munro’s Works routinely generate substantial media, public, and

 online interest and underwriter sponsor support. Munro installations and exhibitions have been

 seen and visited by millions of people; lauded in myriad media and online reports in widely

 circulated publications; consistently drive media and public interest, attendance, revenues, and

 publicity; and for exhibitors regularly result in hundreds of thousands of attendees, millions in

 underwriting, ticketing, gift shop, and food court revenues, substantial increases in unique

 website visitor web traffic and traditional and social media mentions, and valuable publicity,

 media impressions and online and social media engagement.

        20.     Due attendant public interest, exhibitions of Munro’s Works consistently provide

 tangible attendance, publicity, and financial benefits for exhibiting spaces. As an illustrative

 example, from midsummer to early fall of 2012, Munro exhibited at Pennsylvania’s Longwood

 Gardens to regional and national publicity that included feature reports on Munro’s exhibition in

 national publications such as the Washington Post. Munro’s Longwood exhibition, which

 Tennessee’s Cheekwood Botanical Gardens & Museum of Art later described as “wildly

 popular” in announcements for its own subsequent Munro exhibition, drew over 300,000

 attendees, many from more than three hours away. How popular was Munro’s Longwood


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 exhibition? By comparison, the Rolling Stones’ 2014 concert tour, one of the top tours of 2014,

 drew 651,816 attendees. In just one exhibition at Longwood, Munro’s installations drew roughly

 half that many attendees. As Longwood’s director Paul Redman noted to the Washington Post,

 “‘When that exhibit opened, [Munro] was a rock star. He was a rock star.’”

        21.     Installations and exhibitions are also a primary revenue driver for Munro’s

 business and, as a result, Munro’s Works and the intellectual property rights associated with

 Munro’s Works hold inestimable value to Munro’s business and livelihood.

        22.     Private collectors and investors also retain and commission Munro to produce

 specially-commissioned, high-value works of art. These opportunities and sales are spurred by

 Munro’s exhibitions and installations and their attendant publicity and interest.

 B. Munro’s Copyrighted Works & Copyright Management Information

        23.     Munro has created, exhibited, and is the author of numerous light-based sculptural

 Works for which he is entitled to and has copyright protections under U.S. law and the Berne

 Convention, including the below-described and -depicted United States-published and -registered

 work titled Forest of Light™ and several below-described and -depicted United Kingdom-

 published works (“UK Works”).

        24.     The Berne Convention for the Protection of Literary and Artistic Works of 1886

 as revised (“Berne Convention”) requires its signatories to recognize the copyright of works of

 authors from other signatory countries in the same way as it recognizes the copyrights of its own

 nationals and to provide strong minimum copyright protections.

        25.     The United States of America became a signatory member of the Berne

 Convention on March 1, 1989. The United Kingdom became a signatory member of the Berne




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 Convention in 1886, ratified the convention in 1887, and fully implemented the convention in

 1988.

         26.    Copyright under the Berne Convention is automatic, and no registration

 requirements can be imposed on a Work from a different Berne member country. (Berne

 Convention, Article 5(2).) The United Kingdom also does not require formal registration to

 obtain a copyright.

         27.    Munro’s UK Works are Berne Convention Works as defined in the Copyright

 Act, 17 U.S.C. § 101, and under the Berne Convention are subject to the protections of the

 Copyright Act, 17 U.S.C. §§ 101 et seq. Munro’s UK Works are not “United States Works”

 under 17 U.S.C. § 101, and are therefore also exempted from registration under 17 U.S.C. § 411.

         28.    In 2008, Munro created and exhibited a sculptural Work titled Field of Light® in

 the United Kingdom at the Eden Project exhibition in Cornwall. Under United Kingdom law

 Munro has copyright protection for the Field of Light® Work, and under the Berne Convention

 and the Copyright Act (17 U.S.C. §§ 101 et seq.) is entitled to copyright protection in the United

 States. A representative photo of that Munro Field of Light® sculptural Work is depicted below:




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        29.     In 2008, Munro created and exhibited a sculptural Work titled Fireflies at an

 exhibition in the United Kingdom. Under United Kingdom law Munro has copyright protection

 for the Fireflies Work, and under the Berne Convention and the Copyright Act (17 U.S.C. §§ 101

 et seq.) is entitled to copyright protection in the United States. A representative photo of that

 Munro Fireflies sculptural Work is depicted below:




        30.     In 2010, Munro created and exhibited a sculptural Work titled Water-Towers in

 the United Kingdom at the Salisbury Cathedral in Wiltshire. Under United Kingdom law Munro

 has copyright protection for the Water-Towers Work, and under the Berne Convention and the




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 Copyright Act (17 U.S.C. §§ 101 et seq.) is entitled to copyright protection in the United States.

 A representative photo of that Munro Water-Towers sculptural Work is depicted below:




        31.     In 2012, Munro created and exhibited a sculptural Work titled Brass Monkeys in

 the United Kingdom at the Royal United Hospital in Bath. Under United Kingdom law Munro

 has copyright protection for the Brass Monkeys Work, and under the Berne Convention and the

 Copyright Act (17 U.S.C. §§ 101 et seq.) is entitled to copyright protection in the United States.

 A representative photo of that Munro Brass Monkeys sculptural Work is depicted below:


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         32.    In 2012, Munro created in the United States and displayed at Pennsylvania’s

  Longwood Gardens the sculptural Work titled Forest of Light™. On August 24, 2019, Munro

  registered the Forest of Light™ Work with the U.S. Copyright Office and is the owner of the

  associated copyright registration. See Exhibit A (Copyright Registration Certificate No. VA 2-

  176-825). Representative deposit specimen photos of Munro’s Forest of Light™ sculptural

  Work are depicted below:




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         33.     In 2013, Munro created and exhibited in the United Kingdom at a Winter Light at

  Waddesdon exhibition a sculptural Work titled River of Light. Under United Kingdom law

  Munro has copyright protection for his River of Light Work, and under the Berne Convention

  and the Copyright Act (17 U.S.C. §§ 101 et seq.) is entitled to copyright protection in the United

  States. A representative photo of that Munro River of Light sculptural Work is depicted below:




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         34.     Accordingly, Munro owns copyrights in his Forest of Light™, River of Light,

  Field of Light®, Fireflies, Water-Towers, and Brass Monkeys sculptural Works (collectively,

  “Works”), which are protectable and enforceable under the US Copyright Act via Munro’s

  federally-registered U.S. copyright registration and via the Berne Convention.

         35.     Munro also maintains exemplative images of a variety of his Works at the website

  www.brucemunro.co.uk (“Munro Site”) and its associated webpages, which proximate to each of

  the images display copyright management information (“CMI”) within the meaning of Sections

  1201 through 1203 of the Digital Millennium Copyright Act (“DMCA”), including authorship

  and titles. See Exhibits B1 – B11 (excerpted Munro Site webpages displaying images of and

  title and authorship CMI for the following Munro Works: Beacon, Bell Chandelier, Blue Moon,

  Brass Monkeys, Fagin’s Urchins, Field of Light®, Fireflies, Icos, TePees, Water-Towers, and

  Whizz Pops).

         36.     Munro has not authorized or licensed any of the Defendants to exploit any of the

  Works, their associated copyrights, or any other Munro Works or associated copyrights.

  Nevertheless, Defendants are commercially and extensively exploiting a multitude of Munro’s

  Works and without proper attribution have used false CMI to do so.

  C. Defendants’ Infringing and Illegal Acts

         37.     Defendant G-Lights is making, selling, advertising for sale, and importing into the

  United States unauthorized infringing copies and derivatives of Munro’s above-identified

  copyright-protected Works in violation of 17 U.S.C. §§ 501, 602, et seq. Moreover, with the

  intent to induce, enable, facilitate, and conceal infringement, G-Lights has knowingly removed

  and provided and distributed false CMI associated with multiple Munro Works and images




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  thereof in violation of § 1202 of the Digital Millennium Copyright Act (“DMCA”). 17 U.S.C. §

  1202.

          38.    In particular, G-Lights maintains multiple sales sites on the Alibaba platform that

  advertise into the United States and this district the sale of unauthorized copies and derivatives of

  Munro’s above-identified copyright-protected Works, including for public display. True and

  correct screenshots of G-Light Alibaba sites advertising and selling knock-off replicas of

  Munro’s Works are attached as Exhibits C - F.

          39.    Exhibit C contains a G-Lights Alibaba sale site advertising and offering for sale

  knock-off replicas of Munro’s Forest of Light™, River of Light, and Field of Light® sculptural

  Works. On information and belief, G-Lights is specifically aware that it is offering and selling

  unauthorized replicas of these Munro Works as (a) multiple exemplative photos prominently

  included by G-Lights on the site actually are of Munro’s Forest of Light™ exhibit at Longwood

  Gardens, see Ex. C at p. 1, and (b) G-Lights includes prominent text on the site describing its

  offering as “Bruce Munro style outdoor . . . light.” Id. G-Lights, NGL, Kilburn, and Fairchild

  have imported into the United States and this district and publicly displayed in this district these

  G-Light-promoted unauthorized replicas of Munro’s Forest of Light™, River of Light, and Field

  of Light® sculptural Works and, alternatively, assisted and aided one another in doing so. As

  Fairchild’s COO, Zapata participated in, directed, and approved the public display of these

  replicas at Fairchild’s facilities in Coral Gables, Florida.

          40.    G-Lights also included in and distributed via its Alibaba listing shown in Exhibit

  C an image copied from the Munro Site of Munro’s work entitled Whizz Pops, but with both the

  title and authorship CMI removed. Compare Exhibit B11 at p. 2 with Exhibit C at p. 8. This G-

  Lights listing therefore reflects at least two (2) violations of DMCA § 1202.


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         41.     Exhibit D contains a G-Lights Alibaba sale site advertising and offering for sale

  knock-off replicas of Munro’s Fireflies sculptural Work. On information and belief, G-Lights is

  specifically aware that it is offering and selling unauthorized replicas of this Munro Work as the

  exemplative photos G-Lights included on the site actually are of Munro’s Fireflies sculptural

  Works, see Ex. D at pp. 1, 3-6, and the listing and photos of “[o]ther fiber optic light products”

  on that site are of other Munro Works. Id., at p. 6. G-Lights, NGL, Kilburn, and Fairchild have

  imported into the United States and this district and publicly displayed in this district these

  unauthorized replicas of Munro’s Fireflies sculptural Works and, alternatively, have assisted and

  aided one another in doing so. As Fairchild’s COO, Zapata participated in, directed, and

  approved the public display of these replicas at Fairchild’s facilities in Coral Gables, Florida.

         42.     G-Lights also included in and distributed via its Alibaba listing shown in Exhibit

  D (a) two images copied from the Munro Site of Munro’s Work entitled Fireflies, but with both

  the title and authorship CMI removed and the false CMI “glightsled.en.alibaba.com” inserted

  instead, compare Exhibit B7 at pp. 1-2 with Exhibit D at pp. 3-5; and (b) two images copied

  from the Munro Site of Munro’s Work entitled Whizz Pops, but with both the title and authorship

  CMI removed. Compare Exhibit B11 at p. 2 with Exhibit D at pp. 6, 13. This G-Lights listing

  therefore reflects at least twelve (12) violations of DMCA § 1202.

         43.     Exhibit E contains a G-Lights Alibaba sale site advertising and offering for sale

  knock-off replicas of Munro’s Water-Towers sculptural Work. On information and belief, G-

  Lights is specifically aware that it is offering and selling unauthorized replicas of this Munro

  Work as the exemplative photos G-Lights included on the site are of Munro’s Water-Towers

  sculptural Works. See Ex. E at pp. 1, 3-4; compare id., at p. 4, 2nd image with supra at ¶ 30.




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          44.    G-Lights also included in and distributed via its Alibaba listing shown in Exhibit

  E (a) five images copied from the Munro Site of Munro’s Work entitled Water-Towers, but with

  both the title and authorship CMI removed and the false CMI “glightsled.en.alibaba.com”

  inserted instead, compare Exhibit B10 at pp. 5-7 with Exhibit E at pp. 1, 3-4; and (b) one image

  copied from the Munro Site of Munro’s Work entitled Fagin’s Urchins, but with both the title

  and authorship CMI removed, compare Exhibit B11 at p. 2 with Exhibit E at p. 11. This G-

  Lights listing therefore reflects at least sixteen (16) violations of DMCA § 1202.

          45.    Exhibit F contains a G-Lights Alibaba sale site advertising and offering for sale

  knock-off replicas of Munro’s Brass Monkeys sculptural Work. On information and belief, G-

  Lights is specifically aware that it is offering and selling unauthorized replicas of this Munro

  Work as multiple exemplative photos G-Lights included on the site are of Munro’s Brass

  Monkeys sculptural Works. See Ex. F at pp. 1, 3-4; compare id., at p. 3, 1st image with supra at

  ¶ 31.

          46.    G-Lights also included in and distributed via its Alibaba listing shown in Exhibit

  F (a) three images copied from the Munro Site of Munro’s Work entitled Brass Monkeys, but

  with the title and authorship CMI removed in all three and the false CMI

  “glightsled.en.alibaba.com” inserted instead in one, compare Exhibit B4 at pp. 1-2 with Exhibit F

  at pp. 1, 3-4; and (b) three images copied from the Munro Site of Munro’s Work entitled Whizz

  Pops but with the title and authorship CMI removed, compare Exhibit B11 at pp. 1-2 with

  Exhibit F at pp. 3-4. This G-Lights listing therefore reflects at least thirteen (13) violations of

  DMCA § 1202.

          47.    G-Lights also promotes and advertises via its Alibaba pages the following

  collection of images of “[m]ore designs for outdoor” offered for sale by G-Lights, see Ex. E at p.


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  5; Ex. F at p. 6, which generally consist of CMI-stripped images from the Munro Site of Munro’s

  below-listed Works:




                                               Title of Munro Work

                                                 Bell
   Row 1                        Blue Moon                          Beacon              Blue Moon
                                              Chandelier

                                Beacon on       Snowball           Snowball
   Row 2       Vandergraph                                                             Whizz Pops
                                 the Hill      chandelier         chandelier

   Row 3         Whizz Pops            Brass Monkeys           Fagin’s Urchins       Fagin’s Urchins

   Row 4             Icos                    Icos                   TePees               TePees

         48.      Via the preceding collection of images shown in Exhibits E & F under the

  heading “[m]ore designs for outdoor,” G-Lights included in and distributed via its Alibaba

  listings in Exhibits E & F:



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               a.     two images copied from the Munro Site of Munro’s Work entitled Beacon,

        but with both the title and authorship CMI removed and the false CMI

        “glightsled.en.alibaba.com” embossed instead;

               b.     an image copied from the Munro Site of Munro’s Work entitled Bell

        Chandelier, but with both the title and authorship CMI removed and the false CMI

        “glightsled.en.alibaba.com” embossed instead;

               c.     two images copied from the Munro Site of Munro’s Work entitled Blue

        Moon, but with both the title and authorship CMI removed and the false CMI

        “glightsled.en.alibaba.com” embossed instead;

               d.     an image copied from the Munro Site of Munro’s Work entitled Brass

        Monkeys, but with both the title and authorship CMI removed and the false CMI

        “glightsled.en.alibaba.com” embossed instead;

               e.     two images copied from the Munro Site of Munro’s Work entitled Fagin’s

        Urchins, but with both the title and authorship CMI removed and the false CMI

        “glightsled.en.alibaba.com” embossed instead;

               f.     two images copied from the Munro Site of Munro’s Work entitled Icos,

        but with both the title and authorship CMI removed and the false CMI

        “glightsled.en.alibaba.com” embossed instead;

               g.     two images copied from the Munro Site of Munro’s Work entitled TePees,

        but with both the title and authorship CMI removed and the false CMI

        “glightsled.en.alibaba.com” embossed instead; and




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                 h.      two images copied from the Munro Site of Munro’s Work entitled Whizz

         Pops, but with both the title and authorship CMI removed and the false CMI

         “glightsled.en.alibaba.com” embossed instead.

  Compare Exhibits B1 at pp. 3-4, B2 at p. 2, B3 at pp. 1-2, B4 at p. 2, B5 at pp. 1-2, B8 at pp. 1-2,

  B9 at pp. 1-3, and B11 at pp. 1-2 with Exhibit E at p. 5 and Exhibit F at p. 6. This G-Lights

  listing therefore reflects at least forty-two (42) violations of DMCA § 1202.

         49.     Via the additional following collection of images shown in Exhibits E under the

  heading “[m]ore designs for outdoor”, G-Lights also promotes and advertises via its Alibaba

  pages and included in and distributed via its Alibaba listing in Exhibit F CMI-stripped images

  from the Munro Site of additional Munro Works, including: (a) an image copied from the

  Munro Site of Munro’s work entitled Field of Light®, but with both the title and authorship CMI

  removed; and (b) an image copied from the Munro Site of Munro’s work entitled Water-Towers,

  but with both the title and authorship CMI removed:




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  Compare Exhibits B6 at p. 10 and B10 at p. 6 with Exhibit F at p. 5. This G-Lights listing

  therefore reflects at least four (4) violations of DMCA § 1202.

          50.    G-Lights also maintains an internet website and homepage at www.glightsled.com

  (“G-Lights Homepage”) that advertises into the United States and this district the sale of

  unauthorized copies and derivatives of Munro’s above-identified copyright-protected Works,

  including for public display. Attached as Exhibit G is a true and correct copy of G-Light’s

  Homepage.

          51.    G-Lights also includes on and distributes via the G-Lights Homepage shown in

  Exhibit G an appropriated image copied from the Munro Site of Munro’s Work entitled Whizz

  Pops, but with both the title and authorship CMI removed. Compare Exhibit B11 at p. 2 with

  Exhibit G at p. 1. The appropriated and CMI-stripped Whizz Pops image, which is used by G-

  Lights to market its own offerings, is prominently displayed at the top of G-Light’s Homepage

  alongside the promotional message, “Fiber optic lighting makes outdoor landscape project nice

  and different.” The G-Lights Homepage therefore reflects at least two (2) violations of DMCA §

  1202.

          52.    The G-Lights Homepage also advertises and offers for sale knock-off replicas of

  Munro’s Forest of Light™, River of Light, and Field of Light® sculptural works under the “Hot

  Product” listing for “Party And Event Fiber Optic Decorative.” See Ex. G at p. 1.

          53.    The attached Exhibits C - F therefore reflect G-Lights’ wholesale commercial

  appropriation, exploitation, and copying of more than a dozen of Munro’s Works – including

  Beacon, Bell Chandelier, Brass Monkeys, Blue Moon, Fagin’s Urchins, Field of Light®,

  Fireflies, Forest of Light™, Icos, River of Light, TePees, Water-Towers, and Whizz Pops – and a

  multitude of images thereof, and G-Light’s knowing unauthorized removal, alteration,


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  falsification, and distribution of associated copyright management information with the intent to

  induce, enable, facilitate, and conceal infringement.

         54.     G-Lights’ blatant and intentional copying, exploitation, and infringement of the

  Munro Works and G-Lights’ numerous DMCA § 1202 CMI violations reflected in and on the

  attached G-Lights Alibaba listings and G-Lights Homepage (i.e., Exhibits C - F) have had a

  direct and substantial impact in the United States and in this this district as knock-off replicas of

  Munro’s Works obtained from G-Lights have been imported into and publicly displayed in this

  district by NGL, Kilburn, and Fairchild at an ongoing exhibition in Coral Gables, Florida

  promoted as the NightGarden. Munro’s studio has also had to field other inquiries regarding the

  authenticity and quality of the offerings on G-Lights Alibaba sites, including from Tennessee

  residents.

         55.     Since approximately November 15, 2019 and continuing still, defendants

  Fairchild, NGL, and Kilburn have conducted, publicized, marketed, and sold tickets for a

  commercial public exhibition titled the NightGarden at Fairchild’s facilities in Coral Gables,

  Florida in which they are publicly displaying and featuring unauthorized and unattributed knock-

  off replicas of Munro’s copyrighted Forest of Light™, River of Light, Field of Light®, and

  Fireflies sculptural Works.

         56.     On information and belief, Fairchild, NGL, and Kilburn obtained these

  unauthorized replicas of Munro’s Forest of Light™, River of Light, Field of Light®, and Fireflies

  sculptural Works from G-Lights and, along with G-Lights, imported the replicas into the United

  States and this district for commercial public display. Notably, G-Lights’ Alibaba site that

  advertises and offers knock-off replicas of Munro’s Forest of Light™, River of Light, and Field

  of Light® sculptural works (e.g., Exhibit C) promotes them as “Bruce Munro style outdoor . . .


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  light[s]” and also specifically lists and depicts Fairchild, NGL, and Kilburn’s NightGarden as a

  G-Light reference account. See Ex. C at pp. 1, 5.

         57.     Representative photos from the ongoing NightGarden exhibition showing knock-

  offs of Munro’s Fireflies sculptural Works exhibited and publicly displayed by defendants

  Fairchild, NGL, and Kilburn are depicted below:




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         58.    Representative photos from the ongoing NightGarden exhibition showing knock-

  offs of Munro’s Forest of Light™, River of Light, and Field of Light® sculptural works exhibited

  and publicly displayed by defendants Fairchild, NGL, and Kilburn are depicted below:




         59.    NGL, Kilburn, Fairchild, and Fairchild’s COO Zapata have heavily promoted the

  NightGarden in media releases, on websites, and on social media sites (including Facebook,

  Instagram, and Twitter) and continue to do so, and have also encouraged visitors to post photos

  from the NightGarden exhibition. Social media posts promoting the NightGarden include

  photos of these knock-off replicas of Munro’s Works publicly exhibited and displayed by

  defendants Fairchild, NGL, and Kilburn in the NightGarden exhibition.



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           60.   NGL, Kilburn, and Fairchild have collaboratively marketed the NightGarden and

  its public display of infringing replicas of Munro’s Works. For instance, Fairchild’s

  www.fairchildgarden.org website touts the exhibition as “the NightGarden at Fairchild!”

  Fairchild’s online promotions emphasize the NightGarden not only for the sale and purchase of

  single-ticket sales, but also for purchase of season membership passes. Fairchild’s website also

  links to the www.thenightgarden.com ticketing and promotional website maintained by NGL and

  Kilburn, which facilitates and promotes the online sale and purchase of NightGarden tickets and

  prominently includes the following image of NGL, Kilburn, and Fairchild’s public display of

  unauthorized knock-offs of Munro’s Forest of Light ™, River of Light, and Field of Light®

  works:




           61.   Fairchild, NGL, and Kilburn published and is also providing and distributing the

  following guide to NightGarden attendees:



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         62.     But nowhere on the guide, on the www.thenightgarden.com website, on Fairchild’s

  website, or anywhere on display at the NightGarden exhibition does Fairchild, NGL, or Kilburn

  ascribe attribution to Munro with respect to their NightGarden’s knock-offs of Munro’s Fireflies,

  Forest of Light™, River of Light, and Field of Light® Works, despite supplier G-Lights’

  acknowledgement that the knock-offs are replicas of Munro’s Works. See, e.g., Ex. C at p. 1.

  Rather, on the pamphlet, on the www.thenightgarden.com website, and on signage at the

  NightGarden exhibition Fairchild, NGL, and Kilburn instead ascribe false titles to and self-credit

  each display, see, e.g., supra at ¶¶ 56, 57 (guide ascribing the title “Mystic Mushrooms” to the

  NightGarden replicas of Munro’s Forest of Light™, River of Light, and Field of Light® Works).

  By all appearances, defendants utilize phony titles and self-attribution in an effort to conceal that

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  they are exploiting copyrighted materials without the authorization of Munro. This too is a

  violation of the DMCA, which prohibits the use of false information related to the owner, author,

  or title of a creative work. 17 U.S.C. § 1202. Accordingly, Fairchild, NGL, and Kilburn have in

  violation of § 1202 knowingly provided and distributed false copyright management information

  with the intent to or with reasonable grounds to know that it will induce, enable, facilitate, or

  conceal an infringement. Defendants Fairchild, NGL, and Kilburn’s NightGarden guide,

  website, and onsite signage therefore reflect at least three (3) violations of DMCA § 1202.

         63.     Fairchild, NGL, Kilburn, and Zapata have had substantial grounds to know their

  actions constitute infringement of Munro’s copyrights and that their provision and distribution of

  false CMI will induce, enable, facilitate, or conceal infringements. Among other things, (a) they

  obtained and imported the knock-off replicas of Munro’s Works from China, a country

  notoriously lacking in intellectual property protections and known for production of counterfeits;

  (b) their apparent supplier G-Lights’ own Alibaba listings state that the replicas are “Bruce

  Munro style . . . light[s]”, see Ex. C at p. 1; (c) Fairchild via Zapata, and Kilburn via its

  registered agent Mark Manuel, were delivered cease-and-desist letters notifying them that certain

  displays at defendants’ NightGarden constituted infringement of Munro’s federally-registered

  Forest of Light™ Work; and (d) Fairchild and its COO Zapata have prior familiarity with Munro

  and his Works.

         64.     Notably, Fairchild’s Zapata and a member of Fairchild’s board previously

  communicated with Munro studio personnel regarding interest in a Munro exhibition at

  Fairchild’s facilities. As Fairchild’s agent, Zapata’s knowledge regarding Munro and Munro’s

  Works is imputable and attributable to Fairchild, Zapata’s principal. Fairchild also received




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  from Munro’s studio a promotional pamphlet on Munro’s Longwood Gardens exhibition, which

  contained multiple images of Munro’s Forest of Light™, Field of Light® and Fireflies Works.

          65.     Accordingly, NGL, Kilburn, Fairchild, and G-Lights had knowledge of, access to,

  information on, and awareness of Munro and Munro’s Works prior to their acts described above.

          66.     On information and belief, NGL, Kilburn, and Fairchild are specifically aware

  that they imported and are publicly displaying unauthorized knock-offs of one or more Munro

  Works and assisted and aided one another in doing so. Moreover, they have posted and

  encouraged others to post on social media and elsewhere photos and images of improperly-titled

  and -attributed unauthorized replicas of Munro Works on display at defendants’ NightGarden

  exhibition.

          67.     Nevertheless, with defendant Zapata’s direct assistance and approval, defendants

  Fairchild, NGL, and Kilburn have continued to publicly display unauthorized infringing copies

  and derivatives of Munro’s above-identified copyright-protected Works. 17 U.S.C. § 501, et seq.

  Moreover, with the intent to induce, enable, facilitate, and conceal infringement, Fairchild, NGL,

  and Kilburn have knowingly removed and provided and distributed false CMI associated with

  multiple Munro works in violation of § 1202 of the DMCA. 17 U.S.C. § 1202.

                                             COUNT I
                                      COPYRIGHT INFRINGEMENT

          68.     Munro incorporates the allegations of paragraphs 1 through 67 of this Complaint

  as if fully set forth herein.

          69.     Defendants’ above-described installations, products, advertisements, and

  numerous derivatives thereof (including innumerable photos, web posts, social media posts,

  media releases, and displays making up the advertising and social media publicity campaign



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  described herein for the NightGarden) share similarities so substantial to Munro’s Works that

  their production, importation, reproduction, and public display constitute copyright infringement.

         70.     By their actions alleged above, defendants Fairchild, NGL, Kilburn, and G-Lights

  have infringed Munro’s copyrights in Munro’s federally-registered Forest of Light™ Work and

  in his Fireflies, River of Light, and Field of Light® Works. Specifically, defendants Fairchild,

  NGL, Kilburn, and G-Lights have infringed Munro’s exclusive rights set forth in 17 U.S.C. §

  106 by copying, reproducing, making derivatives of, distributing, importing, advertising for sale

  and import, publicly displaying, and otherwise exploiting these Munro Works (including for the

  NightGarden exhibition at Fairchild’s facilities and on defendants’ sales and promotional

  websites). See 17 U.S.C. §§ 501, 602.

         71.     On information and belief, Kilburn is the dominant influence over NGL, and

  Zapata is a dominant influence over Fairchild, and each determined or directed the actions that

  led to the NightGarden-related infringements of Munro’s Forest of Light™, Fireflies, River of

  Light, and Field of Light® works complained of herein. Accordingly, Zapata and Kilburn are

  jointly and severally liable for direct copyright infringement.

         72.     On further information and belief, Kilburn maintained the right and ability to

  supervise the infringing activities of NGL and had a direct financial interest in those activities by

  virtue of its stake and role in NGL and the profits derived from the NightGarden exhibition.

  Accordingly, Kilburn is also vicariously liable for copyright infringement.

         73.     NGL is also vicariously liable for all infringements committed by Kilburn (its

  managing agent) within the scope of its agency.

         74.     By its actions alleged above, defendant G-Lights has also infringed Munro’s

  copyrights in Munro’s Water-Towers and Brass Monkeys Works. Specifically, defendant G-


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  Lights has infringed Munro’s exclusive rights set forth in 17 U.S.C. § 106 by copying,

  reproducing, making derivatives of, distributing, importing, advertising for sale and import,

  publicly displaying, and otherwise exploiting Munro’s Water-Towers and Brass Monkeys Works

  (including for its sales and promotional websites). See 17 U.S.C. §§ 501, 602.

          75.     Defendants’ actions constitute willful infringement of Munro’s copyright

  inasmuch as they knew, or had reason to know, that their use of and exploitation of Munro’s

  Works was unauthorized; and/or because they have acted with reckless disregard of Munro’s

  copyrights.

          76.     As a result of the foregoing, Munro is entitled to actual damages, plus

  Defendants’ profits, and at Munro’s election statutory damages of up to $150,000 for

  infringement(s) of his Forest of Light™ work, plus attorney’s fees and costs of court.

          77.     Munro is additionally entitled to immediate and permanent injunctive relief and

  impounding and destruction of offending items and materials.

                                            COUNT II
                              CONTRIBUTORY COPYRIGHT INFRINGEMENT

          78.     Munro incorporates the allegations of paragraphs 1 through 67 of this Complaint

  as if fully set forth herein.

          79.     By their actions alleged above, Defendants have contributorily infringed Munro’s

  copyrights in the Munro Works.

          80.     Defendant G-Lights has induced, caused, and/or materially contributed to

  infringing conduct by defendants Fairchild, NGL, and Kilburn and by others, including by, inter

  alia, producing, advertising for sale, and importing into the United States replicas of the Munro

  Works and encouraging and facilitating the importation and public display of such replicas,

  including by Fairchild, NGL, and Kilburn for their NightGarden exhibition.

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         81.     Defendants Fairchild, NGL, and Kilburn have induced, caused, and/or materially

  contributed to infringing conduct by one another and Zapata has induced, caused, and/or

  materially contributed to infringing conduct by Fairchild, NGL, and Kilburn including by, inter

  alia, (a) Fairchild’s provision of facilities for commercial public display of replicas of Munro’s

  Fireflies, Forest of Light™, River of Light, and Field of Light® Works, (b) Fairchild, Zapata,

  NGL, and Kilburn’s collaboration on and co-promotion of the NightGarden exhibition publicly

  displaying replicas of Munro’s Fireflies, Forest of Light™, River of Light, and Field of Light®

  works and their online posts of derivative images thereof on websites and social media

  platforms.

         82.     Defendants Fairchild, NGL, and Kilburn have induced, caused, and/or materially

  contributed to infringing conduct by others including by, inter alia, utilizing hashtags and

  creating specified web and social media sites which allow and encourage NightGarden attendees

  to re-post photographs and images of the replicas of Munro’s Fireflies, Forest of Light™, River

  of Light, and Field of Light® works on commercial public display at defendants’ NightGarden

  exhibition.

         83.     Defendants obtained economic benefits in connection with their actions

  constituting contributory infringement, including increased visibility, exposure, attendance,

  ticket sales, and revenues for the NightGarden exhibition and increased visibility, exposure,

  product sales, and revenues for G-Lights.

         84.     Defendants’ actions constitute willful infringement of Munro’s copyright

  inasmuch as they knew, or had reason to know, that their use of and exploitation of Munro’s

  Works was unauthorized; and/or because they have acted with reckless disregard of Munro’s

  copyrights.


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          85.     As a result of the foregoing, Munro is entitled to actual damages, plus

  Defendants’ profits, and at Munro’s election statutory damages of up to $150,000 for

  infringement(s) of his Forest of Light™ work, plus attorney’s fees and costs of court.

          86.     Munro is additionally entitled to immediate and permanent injunctive relief and

  impounding and destruction of offending items and materials.

                                        COUNT III
                        COPYRIGHT MANAGEMENT INFORMATION VIOLATIONS

          87.     Munro incorporates the allegations of paragraphs 1 through 67 of this Complaint

  as if fully set forth herein.

          88.     By their actions alleged above, Defendants have violated Section 1202 of the

  Digital Millennium Copyright Act with regard to Munro’s Beacon, Bell Chandelier, Blue Moon,

  Brass Monkeys, Fagin’s Urchins, Field of Light®, Fireflies, Icos, TePees, Water-Towers, and

  Whizz Pops Works and images thereof by knowingly providing, distributing, and importing for

  distribution copyright management information (“CMI”) that is false; by intentionally removing

  and altering CMI; and by distributing, importing for distribution, and publicly performing and

  displaying copies and replicas of Munro Works knowing that CMI had been removed without

  Munro’s authorization. 17 U.S.C. § 1202(a) & (b).

          89.     Specifically, G-Lights has committed at least ninety-one (91) CMI violations in

  connection with its above-described intentional removal and falsification of title and authorship

  CMI associated with the identified Munro Works and images thereof; and NGL, Kilburn, and

  Fairchild have committed at least three (3) CMI violations in connection with their above-

  described removal and use of false of title and authorship CMI in connection with their signage,

  guides, and website(s) for their NightGarden replicas of Munro Works. On information and

  belief, Defendants’ removals and falsifications of CMI were committed knowingly, and with the

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  intent to induce, enable, facilitate and/or conceal infringement (including in connection with

  NGL, Kilburn, and Fairchild’s encouragement of attendees’ re-posts on social media of photos of

  the NightGarden’s public display of replicas of Munro’s Works).

         90.     On information and belief, Kilburn maintained the right and ability to supervise

  and/or control the publication of false CMI in connection with the NightGarden exhibition and

  derived a direct financial benefit therefrom, and is therefore also vicariously liable for violation

  of Section 1202 of the Digital Millennium Copyright Act.

         91.     As a result of the foregoing, Munro is entitled to actual damages plus the profits

  of Defendants; or in the alternative, statutory damages for each violation in an amount no less

  than $2,500 and no more than $25,000 per violation, plus costs and attorney’s fees. 17 U.S.C. §

  1203(b)(4), (5) & (c).

                                          INJUNCTIVE RELIEF

         92.     As a direct and proximate result of the Defendants’ foregoing acts and omissions,

  Munro has sustained, and will continue to sustain, substantial, immediate, and irreparable injury,

  for which there is no adequate remedy at law. Munro is informed and believes in view of the

  above-described conduct of Defendants that unless enjoined and restrained by this Court,

  Defendants will continue to infringe Munro’s copyrights and commit copyright management

  information violations. Accordingly, Munro is entitled to temporary, preliminary, and

  permanent injunctive relief ordering that Defendants and all persons under their direction,

  control, permission or authority be enjoined and permanently restrained from exploiting Munro’s

  Works and to seizure, impounding, and destruction of offending items and materials.

                                             JURY DEMAND

         Munro demands a jury trial for all issues so triable in this action.


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                                              PRAYER

         For the foregoing reasons, Munro requests judgment against the Defendants for the

  following:

         A.     All damages, actual damages, statutory damages, exemplary damages, enhanced

  damages, profits, and other legally permissible damages or recoveries allowed by law, statute, or

  equity, including for each work infringed and each violation of the Digital Millennium Copyright

  Act an award of actual damages and/or statutory damages per 17 U.S.C. §§ 504(c) & 1203(c);

         B.     Temporary, preliminary, and permanent injunctive relief as alleged and as

  otherwise allowed per 17 U.S.C. §§ 502 & 1203(b), including an order that Defendants and all

  persons under their direction, control, permission or authority be enjoined and permanently

  restrained from exploiting Munro’s works or displaying inaccurate CMI;

         C.     Seizure, impounding, and destruction of all infringing copies, equipment used to

  make them, related records, and any device(s) or product(s) involved in any CMI violation per 17

  U.S.C. §§ 503 & 1203(b)(2) & (6);

         D.     Pre-judgment and post-judgment interest on any award at the maximum legal rate;

         E.     Reasonable costs and attorneys’ fees as allowable and per 17 U.S.C. §§ 505 and

  1203(b)(4) & (5); and,

         F.     All other relief to which Munro may be entitled or as the Court may deem just,

  equitable, necessary, proper and/or appropriate under the circumstances.

  Dated: January 8, 2020                       Respectfully submitted,


                                               /s/ Joel B. Rothman
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